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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII




 UNITED STATES OF AMERICA,                    CRIMINAL NO. 19-00111 JAO


                    Plaintiff,                ORDER TO SHOW CAUSE AS TO
                                              WHY THE COURT SHOULD NOT
                                              ORDER DEFENDANT
       vs.                                    TRANSPORTED TO A SUITABLE
                                              FACILITY BY JUNE 15, 2022

 MICHELET LOUIS,


                    Defendant.


  ORDER TO SHOW CAUSE AS TO WHY THE COURT SHOULD NOT
 ORDER DEFENDANT TRANSPORTED TO A SUITABLE FACILITY BY
                      JUNE 15, 2022

      On January 28, 2022, the Court issued an order concluding that the

Defendant “[was] presently suffering from a mental disease or defect rendering

him mentally incompetent to the extent that he [was] unable to understand the

proceedings against him and to assist properly in his defense.” See ECF No. 150 at

2. The Court thereby committed Defendant:

             [T]o the continued custody of the Attorney General pursuant to
             the provisions of 18 U.S.C. § 4241(d) at a suitable facility closest
             to the Federal District Court for the District of Hawaii: 1) for
             such a reasonable period of time, not to exceed four months, as
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              is necessary to determine whether there is a substantial
              probability that in the foreseeable future he will attain the
              capacity to permit the hearing on the order to show cause for
              violation of supervised release . . . to proceed; and 2) for an
              additional reasonable period of time until: a) his mental condition
              is so improved that the OSC may proceed, if the court finds that
              there is a substantial probability that within such additional
              period of time he will attain the capacity to permit the OSC to
              proceed; or b) the pending charges against him are disposed of
              according to law; whichever is earlier.

Id. at 2–3.

      At the hearing, the Court instructed the Government “to inform the Court

when Defendant Michelet Louis has been transported to the treating facility and to

provide the Court with updates regarding defendant’s progress.” ECF No. 148.

Additionally, the “Court DIRECT[ED] the U.S. Marshal Service to expeditiously

transport Defendant to the treating facility.” Id.

      On March 7, 2022, the Court requested via email an update from the

Government on the status of Defendant’s transport. That same day, the

Government responded that Defendant had not been moved to a treating facility,

that Defendant could not be transported by commercial airline, and that he would

be “transported on the next JPATS flight, which may not be until at least later this

Spring.” Defendant’s counsel was included on this and all future email exchanges.

      On April 13, 2022, the Court again requested a status update from the

Government. The Government replied that Defendant had not yet been moved.

The Government further commented that the “information [was] not inconsistent

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with USMS report in March that the next JPATs flight to safely transport Mr.

Louis might be in late Spring.” The Government “took that information to mean

that [the flight] could be sometime in June.”

      On May 24, 2022, the Government informed the Court that the JPATS flight

was now delayed until July or August. The Government also relayed that

Defendant is still on the waitlist for the facility to which the Bureau of Prisons

designated him.

      These repeated delays are of serious concern to the Court. At the hearing,

the Court understood that the federal facilities had waitlists that would affect

Defendant’s ultimate placement, see ECF No. 149 (filed under seal), but it has now

been nearly four months since the Court ordered Defendant’s continued detention

and his expeditious placement. If the Government’s most recent representation for

possible transport dates prove true — and the history of this case suggests they

may not — Defendant will have been detained for six or seven months before even

beginning the 18 U.S.C. § 4241(d)(1) determination.

      “Incapacitated criminal defendants have liberty interests in freedom from

incarceration and in restorative treatment.” Oregon Advocacy Ctr. v. Mink, 322

F.3d 1101, 1121 (9th Cir. 2003). Delays in transfer to a suitable facility burden

such liberty interests. See id. at 1120–21. As such, the Court is concerned that

“[t]here might be a point at which unreasonable delays in the hospitalization of [an

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incompetent] detainee . . . infringe[] on the detainee's due-process rights.” United

States v. Brandreth-Gibbs, CASE NO. CR20-14 RSM, 2021 WL 764771, at *2

(W.D. Wash. 2021) (quoting Government’s concession) (first three alterations in

original).

      Accordingly, the Government is ORDERED TO SHOW CAUSE as to why

the Court should not enter an order requiring Defendant to be transported by June

15, 2022. The Government must respond to this OSC by May 31, 2022. Failure to

do so will result in the Court entering such an order. Defendant may also file a

response to this OSC on that same date.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawai‘i, May 25, 2022.




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Court Should Not Order Defendant Transported to a Suitable Facility by June 15,
2022

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